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EXHIBIT A

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SUPREME COURT OF THE STATE OF NEW YORK
COUNTY OF DUTCHESS

 

HARRY BOWERS AND DOROTHY BARAD
BOWERS,

Index No:
Plaintiffs,

v. SUMMONS

S'l`ATE FARM FIRE AND CASUALTY
COMPANY,

 

Defendants.

 

To the above-named Defendant:
' YOU ARE HEREBY SUMMONED to answer the complaint in this action and to serve
a copy of your answer, or, if the complaint is not served with a summons, to Serve a notice of
appearance, on the plaintiffs’ attorney(s) within 20 days after the service of this summons,
exclusive of the day of service of this summons, 01‘ within 30 days after service is complete where
service is made in any other manner than by personal delivery within the State of New York. ln
case of your failure to answer this summons, a judgment by default will be taken against you for
the relief demanded in the complaint, together with the costs of this action.
Dutchess County is designated as the place of trial. The basis of the venue designated is
the residential address of the Plaintiffs, which is currently located at 95 W. l\/leadowhrool< Lane,

Staatsburg, New York, 12580-6307.

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NYSCEF DOC. NO. l

Dated: July 6, 2017
New Yorlc, New Yorl<

To: State Farm Insurance Company
One State Farm Plaza
Bloomington lL 617l0

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SUPREME COURT OF THE S'l"ATE OF NEW YORK

 

COUNTY OP DUTCHESS
X
HARRY BOWERS AND DOROTHY BARAD
BOWERS, index No.:
Plaintiffs,
COMPLAINT
V- JURY TRIAL REQUESTED
STATE FARM FIRE AND CASUALTY COMPANY,
Defendant.
X

 

Plaintiffs, HARRY BOWERS and DOROTHY BARAD BOWERS (collectively
“Plaintiffs”), by and through their attorneys, l\/Ierlin Law Group, as and for their Complaint against
Defendants, STATE FARM FIRE AND CASUALTY COMPANY (“State Farm"), allege as
follows:

’l`HE PARTIES

l. At all times material hereto, Plaintiffs were the owners of real and personal
property, and had an insurable interest in real and personal property, located at 95 W.
Meadowbrool< Lane, Staatsburg NY 12580-6307 (“the Property”, “the insured home”, “the
dwelling”, or “the insured premises”).

2. At all times hereinafter mentioned, Defendant State Farm is and was a foreign
corporation authorized to do business in the State ofNew Yorl<, including the issuance of insurance
policies in the State of New Yorl<.

3. The state of incorporation of State Farm is lllinois.

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4. The principal place of business and statutory home of State Farm is One State Farm

Plaza, Bloornington, lllinois.

5. Venue is proper in Dutchess County, New York, because the Property is located
within Dutchess County and State Farm voluntarily insured property located in Dutcliess County.

6. Tliis action is brought within two years from the date of loss or occurrence as
specified and required by the Policy and applicable law.

FACTUAL BACKGROUND

7. This is an action by the Plaintiffs against their insurance carrier, State Farm, for
declaratory judgment and benefits owed under an insurance policy which have not been fully paid,
stemming from significant water damage to their real and personal property located at 95 W,
Meadowbrook Lane, Staatsburg NY 12580-6307,

8. In consideration for the premiums paid to it by Plaintiffs, State Farm issued and
delivered to Plaintiffs a policy of property insurance, bearing policy number 56EP94767, in effect
from October 28, 2014 to October 28, 20l5 (the “Policy”).

9. Said Policy was sold by State Farm to the Plaintift`s, all premiums on the Policy
were paid, and the Policy was in full and continuing force and effect at all relevant times herein.

l(). 'l`he damage to Plaintiffs’ real and personal property located at 95 W.
l\/leadowbrool< Lane, Staatsburg New Yorl<, was caused by a break in a plumbing line, a peril
covered under the Policy, that occurred on or about July 12, 2015, during the policy period 'l`he
break caused water damage throughout the house, causing permanent damage to various portions
of the insured home and Plaintiffs’ personal property.

ll. Plaintiffs complied with all conditions precedent to obtaining payment of benefits

under the Policy or State Farni has waived such conditions precedent

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12. Plaintiffs reported the loss to State Farm.

13. State Farrn acknowledged coverage for the loss, assigned claim number 32~689'\/~
882 to Plaintiffs’ claim, inspected Plaintiffs’ home, and handled the claim through its duly
authorized representatives and adjusters

l4. In order to mitigate the water damages and initiate preventative repairs to the
insured dwelling, Plaintiffs hired a water mitigation company at the direction of State Farm to help
minimize the extent of water damage

15, In order to initiate the demolition and reconstruction of the damaged dwelling,
Plaintiffs paid a moving company to relocate and store the contents of the home.

16. Plaintiff also delivered numerous items of personal property and contents that were
damaged by water to Certifred Restoration Dry Cleaning Networl< (“CRDN”) so that clothing and
textiles exposed to water could be cleaned and restored to pre-loss condition These items were
taken to CRDN at the direction of State Farm and CRDN was paid by State Farm.

l7. During the adjustment of the claim, a disagreement between Plaintiffs and State
Farm_arose over the value of certain damages to the dwelling, such as costs to replace the damaged
HVAC system with like, kind and quality, and payment for property that was damaged during the
mitigation/demolition process Because of these disputed issues, among others, Plaintiffs sought
to force State Farm to properly adjust the claim and pay the full value of the loss by demanding
appraisal of the scope and amount of loss pursuant to the Policy ternis.

18, Pla`rntiffs contend that State Farm breached the contract by not fairly compensating
them for this claim and forcing them to incur the additional cost and time of appraisal.

19. An umpire, F rank P. Antonucci ofAntonucci Consulting Corp., was hired to umpire

the difference in value between the partiesl

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20. Pursuant to the subject insurance policy:

Appraisal. if you and we fail to agree on the amount of loss, either one
can demand that the amount of the loss be set by appraisal lf either
makes a written demand for appraisal, each shall select a competent,
disinterested appraiser. Each shall notify the other of the appraiser’s
identity within 20 days of receipt of the written demand. The two
appraisers shall then select a competent, impartial unipire. lf the two
appraisers are unable to agree upon an umpire within 15 days, you or we
can ask a judge of a court of record in the state where the residence
premises is located to select an umpire. The appraisers shall then set the
amount of the loss. lf the appraisers submit a written report of an
agreement to us, the amount agreed upon shall be the amount of the loss.
lf the appraisers fail to agree within a reasonable time, they shall submit
their differences to the umpire. Written agreement signed by any two of
these three shall set the amount of the loss. Each appraiser shall be paid
by the party selecting that appraiser, Other expenses of the appraisal and
the compensation of the umpire shall be paid equally by you and us.

21. On April 20, 2016, almost one year after the loss, Plaintiffs‘ Appraiser and the
Urnpire entered an appraisal award for the dwelling of $241 ,095.09 Actual Cash Value Loss, which
represents a Replacement Cash Value Loss of $27l,825.54 minus Withheld Depreciation of
3)`30,730.45. See Appraisal Award annexed hereto as Exhibit B.

22. The umpire did not appraise the increased cost of construction, he did not appraise
the personal property damage, and he did not appraise the additional living expenses

23. Plaintiffs contend that State Farin has breached the contract by not fairly
compensating them for the increased cost of construction, contents damage and additional living
expenses stemming from this loss.

24. ln addition, despite the insurer’s delay and forcing Plaintiffs to appraisal, State
Farni has taken the position that the dwelling repairs must be made by July 12, 2017, or the
Replacement Cash Value Loss benefits provided by the Policy are lost. By failing to properly

adjust the claim and failing to properly compensate Plaintiffs, State Farm has prevented Plaintiffs

from rebuilding and repairing the property within the time limit set forth in the Policy.

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' 25. Because of the delay in rebuilding the dwelling, Plaintiffs were unable to inspect
the stored clothing and textiles for almost a year and a half after the date of loss. When Plaintiffs
were finally able to inspect the clothing and textiles taken to CRDN, they discovered that the
cleaning treatment was unsuccessful and that certain clothing and textiles were damaged during

the cleaning process

26. Plaintiffs asked that State Farm cover the losses of the contents and personal
property.
27. Plaintiffs contend their clothing and textiles should be covered by State Farm as a

total loss because they could not be restored to pre-loss condition

28. While the clothing and textiles were exposed to water, mold and mildew caused by
a covered loss, State Farm has taken the position that the damaged clothing and textiles are beyond
the scope of the water loss claim, and that CRDN is responsible for these damagesl

29. Despite the insurer’s delay and forcing Plaintiffs to appraisal, State Farm has taken
the position that the personal property must be replaced by July 12, 2017, or else the replacement
benefits are lost. By failing to properly adjust the building loss claim and failing to properly
compensate Plaintiffs State Farm has prevented Plaintiffs from purchasing new contents for their
home within the time limit set forth in the Policy.

30. Because Plaintiffs have begun repairs but are still in the process of repairing the
home, due to no fault of their own, they cannot reasonably make all necessary repairs to the home
and simultaneously purchase/replace new contents in their home.

31. Plaintiffs contend that any delays in repairing the dwelling damages and replacing
damaged personal property are due to State Farm’s wrongful acts and refusal to pay the claim

within a reasonable time after the loss.

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32.

dwelling repairs and replace their personal property, without prejudice to their rights to recover

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Accordingly, Plaintiffs should be entitled to an extension of time to complete

the Replacement Cash Value Loss amounts despite the two~year provision in the Policy.

33.

THE STATE FARM POLICY

The lnsuring Agreement of the Policy insures Plaintiffs against accidental direct

physical loss to the Propeity.

34.

The Policy contains the following “Replacement Cost Loss Settlement provisions:

COVERAGE A ~ DWELLING

Replacement Cost Loss Settlement -
Similar Construction

l.

We will pay the cost to repair or replace with similar construction and for the
same use on the premises shown in the Declarations the damaged part of the
property covered under Section l ~ Coverages, Coverage A ~ DWELLING,
except for wood fences, subject to the following:

Until actual repair or replacement is completed, we will pay only the actual cash
value at the time of the loss of the damaged part of the property, up to the
applicable limit of liability shown in the Declarations, not to exceed the cost to
repair or replace the damaged part of the property;

When the repair or replacement is actually completed, we will pay the covered
additional amount you actually and necessarily spend to repair or replace the
damaged part of the property, or an amount up to the applicable limit of liability
shown in the Declarations, whichever is less;

'fo receive any additional payments on a replacement cost basis, you must
complete the actual repair or replacement of the damaged part of the property
within two years after the date of loss, and notify us within 30 days after the
work has been completedl

We will not pay for increased costs resulting from enforcement of any
ordinance or law regulating the constiuction, repair or demolition of a building
or other structure, except as provided under BUILDING OR ORDINANCE OR
LAW.

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35.

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COVERAGE B - PERSONAL PROPERTY
Bl ~ Limited Replacement Cost Loss Settlement

We will pay the cost to repair or replace property covered under SECTION l-
COVERAGES, C©VERAGE B ~ PERSONAL PROPERTY subject to the
following:

Until repair or replacement is completed, we will pay only the cost to repair or
replace, less depreciation

Alter repair or replacement is completed, we will pay the difference between
the cost to repair or replace less depreciation, and the cost you have actually
and necessarily spent to repair or replace the property; and

lf property is not repaired or replaced within two years after the date ofloss, we
will pay only the cost to repair or replace less depreciationl

The Policy contains the following “Building Ordinance or Law” provision:

BUILDING ORDINANCE OR LAW

1. Coverage Provided

The total limit of insurance provided by this coverage will not exceed an amount
equal to the Building Ordinance or Law percentage shown in the Declarations
of the Coverage A limit shown in the Declarations at the time of the loss, as
adjusted by the inflation coverage provisions of the policy. 'l`his is an additional
amount of insurance and applies only to the dwelling

2. Damaged Portions of the D\velling

Wlieii the dwelling covered under COVERAGE A ~ DWELLING is damaged
by a Loss insured we will pay for the increased cost to repair or rebuild the
physically damaged portion of the dwelling caused by the enforcement of a
building, zoning or land use ordinance or law if the enforcement is directly
caused by the same Loss insured and the requirement is in effect at the time the
Loss lnsured occurs.

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4. We will not pay for any increased costs of construction under this coverage:

Until the dwelling is actually repaired or replaced at the same or another
premises in the same general vicinity; and

Unless the repairs or replacement are made as soon as reasonably possible after
the loss, not to exceed two years.

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36. The Policy contains the following “Appraisal" provision:

Appraisal. lf you and we fail to agree on the amount of loss, either one can
demand that the amount of the loss be set by appraisal. lf either makes a written
demand for appraisal, each shall select a coinpetent, disinterested appraiser.
Each shall notify the other of the appraiser’s identity within 20 days of receipt
of the written demand The two appraisers shall then select a competent,
impartial umpire. If the two appraisers are unable to agree upon an umpire within
15 days, you or we can ask a judge of a court of record in the state where the
residence premises is located to select an urnpire. The appraisers shall their set
the amount of the loss. lf the appraisers submit a written report of an agreement
to us, the amount agreed upon shall be the amount of the loss. lf the appraisers
fail to agree within a reasonable time, they shall submit their differences to the
umpire. Written agreement signed by any two of these three shall set the amount
of the loss. Each appraiser shall be paid by the party selecting that appraiser.
Other expenses of the appraisal and the compensation of the umpire shall be paid
equally by you and us.

' 37. Nowhere does the Policy state that the appraised Replacement Cash Loss Value
amount sets a cap on recovery before the amount of all actual and necessary costs are incurredl

38. Nowlrere does the Policy provide how the Replacement Cash Value Loss provisions

are applied when the insurer has prevented the policyholder from rebuilding, repairing and/or

replacing damaged property within the time limit set forth in the Policy. Nor does the Policy

account for or toll the time it took to resolve portions of the claim through the appraisal process

AS AND FOR A FIRST CAUSE OF ACTION
(Requcst for Declaratory Relicf)

39. Thc allegations contained in the prior paragraphs are hereby re-alleged and
incorporated as if set forth verbatim herein.

40. Plaintiffs and State Farm are in doubt and dispute of their rights and obligations
under the Policy. Such doubt and dispute has created a bona fide, actual, and present adverse
controversy between the parties regarding the interpretation of the Policy and Plaintiffs’ demand

for coverage and benefits

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41. Plaintiffs’ insured home suffered extensive damage from a burst plumbing pipe,

thereby triggering coverage under the Policy. Plaintiffs timely reported the loss to State Farrn.

42. State Farm failed to pay for all damages caused by the covered peril.

43. In or around December 2015, the claim was submitted to appraisal

44. On April 20, 2016, Plaintiffs' Appraiser and the Umpire entered an appraisal award
of $24l,095.09 Actual Cash Value Loss, which represents a Replacernent Cash Value Loss of
3271,825.54 minus Withheld Depreciation of 330,730.45,

45. Tlie umpire did not provide a complete estimate of the damages and simply listed
on the award document an amount for §§271,825.54 (labeled Replacement Cost Value Loss),
$30,730.45 (labeled Withlield Depreciation), and $241,095.09 (labeled Actual Cash '\/alue Loss).

46. After the appraisal award was issued by the umpire, State Farrn delayed payment
of this claim by refusing to fairly adjust the portions of loss and damage that were not appraised,
for example, the increased cost of construction; additional living expense; and damaged contents

47. After the appraisal award, State Farrn had the continuing responsibility to determine
what damages are covered under the insurance policy and to what extent those damages may be
compensable under the subject insurance policy.

48. After the appraisal award, State Farm had the responsibility to determine how the
insurance policy with its limitations, exclusions, and endorsements applies to the award rendered
by the umpire and based on that analysis, State Farm had a responsibility to pay for all the covered
damages

49. ln this case, because there was no explanation as to what damaged components,
what damaged areas, what rnaterials, or even what type of labor resulted in the values listed by the

umpire, or whether the values reflected like, kind and quality, and because Plaintiffs have not yet

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completed all repairs, State Farm did not know and could not know whether the appraisal amount
fully compensated Plaintiffs for all covered damages

50. Without seeking such a clarification from the appraisal panel or the umpire, State
Farm erroneously concluded that tire amount of the appraisal award reflected the actual amounts
Plaintiffs would incur to make repairs and replace personal property of the same like, kind and
quality as the damaged property, even though Plaintiffs had not yet completed all repairs or
replaced the contents

_ 5l. Nowliere does the Policy state that the Replacement Cash Value Loss amount stated

in the appraisal award sets a cap on Plaintiffs’ replacement cost recovery.

52. Replacemcnt Cash Value Loss cannot be appraised with finality before the Property
is repaired because this amount will be based on and is dependent on the actual incurred costs

53. Plaintiffs contend that only the Actual Cash Value Loss for the building damages
could be calculated during appi'aisal.

54. Full replacement cost could not be determined during appraisal before the amount
of actual and necessary repair costs are incurred and all replacement costs are known.

55. ln addition, Plaintiffs contend that, for purposes of appraisal, the Replacement Cost
Value Loss amount is used to calculate Actual Cash Value Loss and Withheld Depreciation, but
does not operate to set a cap on Plaintiffs’ ultimate recovery for full replacement after repairs are
completed

56. Notwithstanding the Replacerneut Cash Value Loss amount stated in the appraisal
award, pursuant to the policy loss settlement provisions, State Farm owes the amounts actually

and necessarily spent to repair/replace the damaged property.

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57. Notwithstanding the Replacement Cash Value Loss amount stated in the appraisal
award, pursuant to the policy loss settlement provisions, l)laintiffs are entitled to recover the
amounts actually and necessarily spent to repair/replace the damaged property.

58. Therefore, Plaintiffs request a judicial declaration that the terms of the Policy
obligate l`)efendant to cover and pay Plaintiffs for full replacement of the property damage claimed
herein.

WHEREFORE, Plaintiffs respectfully request that this l~lonorable Court enter an Order
determining and declaring'.

(a) That Plaintiffs are entitled to reimbursement of the depreciation for damaged items
replaced to date;

(b) 'fhat Replacement Cash Value boss indicated in the appraisal award can only be used
to determine actual cash value, and does not set a cap on replacement cost benefits
owed under the Policy;

(c) Tliat the full amount of Replacement Cash Value Loss owed Plaintiffs must be based
on actual and necessary costs incurred;

(d) That Plaintiffs are entitled to full Replacernent Cost Value boss of dwelling and
personal property based on actual and necessary costs incurred, even if replacement
is not complete within 2 years;

(e) Tlrat Plaintiffs are entitled to any other such relief as this Court deems just and

appropriate

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AS AND FOR A SECOND CAUSE OF ACTION
(Reqiiest for Declaratoi'y Relief)

59. The allegations contained in the prior paragraphs and Count are hereby re-alleged
and incorporated as if set forth verbatim herein.

60. Plaintiffs have begun repairs birt are still in the process of repairing the dwelling
Due to no fault of their own, they cannot reasonably make all necessary repairs and simultaneously
purchase/replace new contents in their home within the two-year Replacement Cost Loss
Settlement provisions in the Policy.

6l. Plaintiffs contend the Policy’s two-year Replacenrent Cost Loss Settlenicnt
provisions are unenforceablel

62. Plaintiffs contend they are entitled to all Replacement Cash Value Loss benefits
under the Policy, even if they have not completed repairs within two years or replaced their
personal property within two years

63. While the language in the Policy limits Plaintiffs’ time to make repairs and recover
for Replacement Cash Value Loss to two years from the date of loss, this limitation does not fairly
or reasonably account for circumstances beyond the Plaintiffs’ control or direction, such as (a)
State'liarm’s delay in adjusting both the undisputed and disputed portions of the claim; (b) State
Fai'm’s delaying and limiting payment; (c) State Farm’s delay in agreeing to Plaintiffs’ demand
for appraisal; and (d) otherwise taking positions that prevented Plaintiff from making necessary
repairs to the dwelling within two years, which is a condition to recovery for Replacement Cash
Value Loss

64. While the language in the Policy limits Plaintiffs’ time to make repairs and recover
for Replaceinent Cash Value Loss to two years from the date of loss, this limitation does not fairly

or reasonably account for circumstances beyond the Plaintiffs’ control, such as (a) State liarm’s

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delay in adjusting both the undisputed and disputed portions of the claim; (b) State Farm’s efforts
to delay and limit payment; (c) State Farm’s delay in agreeing to Plaiirtiffs’ demand for appraisal',
and (d) otherwise taking positions that prevented Plaintiffs from replacing their personal property
within two years, which is a condition to recovery for Replacement Cash Value Loss

65. Notwithstanding State Fann’s delay in paying the claim and forcing Plaintiffs to
appraisal, State Farm has taken the position that the dwelling repairs must be made by .luly 12,
2017, and personal property replaced by the same date, or the Replacement Cash Value Loss
benefits provided by the Policy are lost.

66. Nowhere does the Policy provide how the Replacement Cost Loss provisions are
applied when the insurer has prevented the policyholder from rebuilding, repairing and/or
replacing damaged property within the time limit set forth in the Policy.

67. Nor does the Policy account for or toll the time it took to resolve portions of the
claim through the appraisal process

68. State Farm has wrongfully delayed the claim then taken the position that it would
withhold depreciation until after the repairs were completed completely depriving the Plaintiffs
of the benefit to which they are entitled

69. State Farni has wrongfully delayed adjusting and paying the claim then taken the
position that it would not pay depreciation if the repairs were not completed by .luly 12, 2017,
completely depriving Plaintiffs of the benefits to which they are entitled

70. State Farm has wrongfully pressured Plaintiffs to replace the damaged personal
property in the home by July l2, 2017, or lose the replacement cost benefits under the l’olicy, even
though the dwelling repairs could not be completed due to the insurer’s delay in adjusting the claim

and making payment.

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7l. State Farrn has wrongfully pressured Plaintiffs to comply with certain conditions

precedent to recover Replacement Cash Loss Value and then frustrated or prevented the occurrence
of those conditions

72. State Farrn disputes, or on information and belief will dispute, the relief that
Plaintiffs assert is available under the Policy.

73. Because of the foregoing, an actual and justiciable controversy exists between
Plaintiffs and State Farm.

74. Plaintiffs therefore request a judicial declaration that, under the circumstances
alleged above, thc two-year limit to recover full Replacement Cash Value Loss for damages to the
dwelling and personal property is unenforceable

75. Even if the two~year Replacement Cash Value Loss provisions apply, which is
expressly denied, Plaintiffs request a judicial declaration that they are entitled to the Replacement
Cash Value Loss payment for all repairs made to date.

WHEREFORE, Plaintiffs respectfully request that this Honorable Court enter an Order
determining and deelaring:

(a) that the two»year Replacement Cash Value Loss provisions are unenforceable because

State Farm has breached the contract and made it impossible for Plaintiffs to comply
with these conditions;

(b) that Plaintiffs are not required to complete repairs and replace personal property By

July 12, 2017;

(c) that Plaintiffs are entitled to an extension of time to make repairs and replace damaged

personal property, without prejudice to their rights to recover full Replacement Cash

\/'alue Loss payments and withheld depreciation;

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(d) tliat, even if the two-year Replacenient Cash Value Loss provisions apply, Plaintiffs
are entitled to Replaceinent Cash Value Loss payments and withheld depreciation for
all repairs made to date; and

(e) that Plaintiffs are entitled to any other Such relief as this Court deems just and
appropriate

AS AND FOR A THIRD CAUSE OF ACTION
(Breach of Coiitract as against State Fai‘m)

76. The allegations contained in the prior paragraphs and Counts are hereby re-alleged
and incorporated as if set forth verbatim herein.

77l Plaintiffs’ real and personal property sustained accidental direct physical loss
because of a broken plumbing pipe, a covered peril under the Policy.

78. State Farm insures the policyholders for accidental direct physical loss to the
Property.

79. The Policy is a valid and enforceable contract providing insurance coverage for the
loss suffered by the Plaintiffs.

80. State Farm was given timely notice of the loss, and all other conditions of the
Policy, including but not limited to payment of premium, proof of loss, and full cooperation, have
been satisfied

8l. State Farm’s contractual duty to indemnify Plaintiffs for the value of the loss has
been triggered

82. State Farm failed to pay for all damages caused by the covered peril.

83. State Farm breached the Policy by the following actions:

(a) Failing to acknowledge a covered loss by refusing to pay Plaintiffs the benefits

due and owing under the Policy;

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(b) Failing to properly evaluate the loss at the beginning of the claim and
intentionally low»balling the value of the insureds’ damages in order to force
the Plaintiffs to incur the expense, delay and uncertainty of the appraisal
process;

(c) Pailing to properly analyze the insurance policy after the appraisal award in
order to asceitain the proper amount for the covered damages thereby paying
an improper amount after the appraisal award;

(d) Failing to properly evaluate and adjust the remaining damages not resolved in
the appraisal process;

(e) Delaying the claim and obstructing Plaintiffs’ ability to commence and
complete repairs within the time prescribed under the Policy by failing to pay
for all damages caused by a covered peril;

(f) Unsatisfactory settlement offers;

(g) By wrongfully pressuring Plaintiffs to re-install mechanical HVAC equipment
that was exposed to water even though Plaintiffs’ contractors advised (i) the
components were obsolete, (ii) it was not feasible or safe to reuse such
equipment, (iii) they could not guarantee the system would work with the reused
mechanical components and (iv) they would not warranty the system with
reused components;

(li) By wrongfully pressuring Plaintiffs to make repairs with materials that were not
of the same like, kind and quality as the damaged items, completely depriving

the Plaintiffs of the benefit to which they are entitled;

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(i) By wrongfully delaying the claim then taking the position that it would
withhold depreciation until after the repairs were completed, completely
depriving the Plaintiffs of the benefit to which they are entitled;

(j) By wrongfully delaying the adjustment and payment of the claim then taken the
position that it would not pay depreciation if the repairs were not completed by
.luly l2, 2017, completely depriving Plaintiffs of the benefits to which they are
entitled;

(k) By wrongfully refusing to compensate Plaintiffs for damages caused by the
mitigation company hired at Defendant`s direction;

(l) By wrongfully refusing to compensate Plaintiffs for damages to their water
damaged clothing and textiles; and

(m)Plaintiffs anticipate identifying additional facts that further demonstrate State
Farm’s breach of the contract during the litigation discovery process;

84. As a direct and proximate result of the above breaches, Plaintiffs have suffered and
continue to suffer damages in an amount to be determined at the jury trial of this action.

WHEREFORE, Plaintiffs respectfully request that this Honorable Court enter judgment
against State Fann for:

(a) an extension of time to make repairs and replace damaged personal property;

(b) monetary judgment in an amount to be determined at thejury trial of this action;

(c) pre- and post-judgment interest; and

(d) costs of suit, and

(e) such other and further relief, including any appropriate equitable relief, as the Court

may deem just and proper.

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AS AND FOR A FOURTH CAUSE OF ACTION
(Breacli of Implied Covenant ofGood Faith and Fair Dealing)

85. The allegations contained in the prior paragraphs and Counts are hereby re~alleged
and incorporated as if set forth verbatim herein.

86. Plaintiffs and State Farm entered into the insurance contract whereby State Farm
promised to pay for covered damages to Plaintiffs’ Property.

87. The Policy contains an implied covenant of good faith and fair dealing This
covenant includes, but is not limited to duties to lionestly, promptly, and fairly investigate facts of
coverage, evaluate damages, adjust the loss, communicate and cooperate with the insured, and
promptly pay the full amount of covered losses.

88. State Farm failed to properly adjust Plaintiffs’ claim by engaging in activities that
inelude, but are not limited to:

(a) deliberately, negligently and unreasonably delaying payment of Plaintiffs’
claim, and failing to timely pay Plaintiffs the full amount of benefits owed under
the Policy for the loss;

(b) refusal to compensate Plaintiffs for the fair value of the claim,

(c) misrepresenting the scope of damages;

(d) improper denial of certain portions of the claim;

(e) Failing to properly evaluate the loss at the beginning of the claim and
intentionally low~balling the value of the insureds’ damages in order to force
the Plaintiffs to incur the expensc, delay and uncertainty of the appraisal

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(t) Failing to properly analyze the insurance policy after the appraisal award in
order to ascertain the proper amount for the covered damages thereby paying
an improper amount after the appraisal award;

(g) Failing to properly evaluate and adjust the remaining damages not resolved in
the appraisal process; and

(h) Delaying the claim and obstructing l’laintiffs’ ability to commence and
complete repairs within the time prescribed under the Policy by failing to pay
for all damages caused by a covered peril.

89. State Fann’s actions in failing to properly adjust Plaintiffs’ claim is a breach of the
implied covenant of good faith and fair dealing

90. Plaintiffs contend the two-year limitations are unenforceable and that they should
not be barred from obtaining full Replacement Cash Value Loss underter Policy by their inability
to repair the home and replace all damaged contents within two years from the date of loss because
State Farin has breached the contract and made it impossible for Plaintiffs to comply with these
conditions

91. As a result of State Farm’s wrongful acts and omissions, Plaintiffs were forced to
retain the professional services of experts, the attorneys and law firm who are representing
Plaintiffs with respect to these causes of action.

92. Defendants knowingly breached the implied covenant of good faith and fair dealing
in an attempt to deprive Plaintiffs of their rights and reasonable expectations under the Policies.

93. Tlre losses incurred by Plaintiffs are a direct and foreseeable consequence of State

Farni’s above described wrongful conduct in that such wrongful conduct has caused additional

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monetary losses, which were reasonably foreseeable and contemplated by the parties at the time
of contracting under the subject insurance policy.

94. The very purpose of insurance coverage as afforded by State Farni would make the
insurer aware that if it breached the Policy it would be liable for the losses consequent to the
breach. In addition, it would be reasonable for Plaintiffs to expect when they purchased the Policy
that State Fann would meet its contractual obligations and not conduct its claims handling
practices in such a way to cause additional loss and damage to their policyholders’ interests

95. As a result of Defendants’ breach of the implied covenant of good faith and fair
dealing, Plaintiffs have suffered and will continue to suffer damages

96. Accordingly, Plaintiffs are entitled to an award against State Farm of compensatory
and consequential damages in such amounts as established by evidence, as well as pre- and post-
judgment interest, costs, and such further relief as may be just.

WHEREFORE, Plaintiffs respectfully request that this Honorable Court enter judgment
against State P`arm for:

(a) Compensatory damages;

(b) Consequential damages;

(c) Pre-judgment interest and post-judgment interest',

(d) Costs ofsuit;

(e) Attorneys’ fees; and

(t) For such other relief as the Court may deem equitable and just.

DEMAND FOR JURY TRIAL
Plaintiffs, l-IARRY BOWERS and DOROTHY BARAD BOWERS, demand a trial byjury

on all issues so triable.

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